Case 1:18-cv-00538-JTN-SJB ECF No. 70, PageID.544 Filed 10/19/20 Page 1 of 6




                            UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

 DAMIEN BANKS, #504504,


                                      Plaintiff,
                                                       Civ. Action No. 1:18-cv-00538-JTN-SJB
                      vs.
                                                       Hon. Janet T. Neff
 GREG TORREY,

                                   Defendant.

        DEFENDANT GREG TORREY’S BRIEF IN SUPPORT OF HIS MOTION FOR LEAVE TO FILE
             DISPOSITIVE MOTIONS AND FOR AMENDMENT OF SCHEDULING ORDER

       Defendant GREG TORREY, by counsel, respectfully submits its Brief in Support of ikts

Motion respectfully requesting that this Court grant it leave to file dispositive motions in this

action and to amend the current Case Management Order and related Scheduling Orders

pursuant to Federal Rule of Civil Procedure 16(b)(4).

                            INTRODUCTION AND FACTUAL BACKGROUND

       On May 14, 2018, Plaintiff filed his Complaint alleging a variety of causes of action

including a First Amendment Retaliation Claim. [Doc. #1]. Plaintiff filed a First Amended

Complaint on December 7, 2018. [Doc. #19]. Following very limited preliminary discovery,

the parties filed Cross-Motions for Summary Judgment in March of 2019. [Doc. ##33-44].

On September 16, 2019, Magistrate Carmody entered a Report and Recommendation

denying Plaintiff’s Motion for Summary Judgment and partially granting Defendant’s Motion,

leaving only Plaintiff’s retaliation claim as at issue in the action. [Doc. #47]. The Report and

Recommendation was adopted by Judge Neff on January 10, 2020. [Doc. #51]. The Court’s




                                                   1
Case 1:18-cv-00538-JTN-SJB ECF No. 70, PageID.545 Filed 10/19/20 Page 2 of 6




ruling significantly limited the claims allowed to proceed in the action and clarified the focus

of the case and the scope and alleged bases for Plaintiff’s claims.

       Pro bono counsel was appointed on behalf of Plaintiff on January 27, 2020, shortly

after the Court’s Order. [Doc. #53]. The undersigned counsel also was retained in connection

with this matter following the appointment of Plaintiff’s counsel. Since counsel entered their

respective appearances, discovery in earnest has taken place, including numerous party and

non-party depositions not taken prior to the filing of the initial motions which focused

specifically on Plaintiff’s remaining alleged claim for retaliation. Upon agreement of the

parties, due to logistical issues including locating and scheduling depositions of witnesses,

the completion of discovery will be completed beyond the close of discovery set by this Court,

with Plaintiff’s deposition set for October 21, 2020 and a remaining non-party deposition

scheduled for October 23, 2020.

       This Court previously issued its Case Management Order which stated that further

dispositive motions would not be filed. [Doc. #58]. However, the Court subsequently

extended the discovery deadline to allow for additional discovery and adjourned the

Settlement Conference pursuant to the parties’ stipulation. [Doc. #60]. This matter is

currently set for a Settlement Conference on November 10, 2020. [Doc. #62].

                                          ARGUMENT

       Circumstances have meaningfully changed since Defendant filed his original Motion

for Summary Judgment, Specifically, significant additional discovery relating directly to

Plaintiff’s lone remaining claim has taken place which clearly demonstrates that Defendant

is entitled to judgment as a matter of law. In short, testimony was elicited from several




                                               2
Case 1:18-cv-00538-JTN-SJB ECF No. 70, PageID.546 Filed 10/19/20 Page 3 of 6




deponents that directly contradict Plaintiff’s allegations and the purported bases for his

claims in the lawsuit.

       “Rule 16 permits district courts to amend the pretrial scheduling order provided that

the movant demonstrates “good cause.” Fed.R.Civ.P. 16(b)(4). “The primary measure of Rule

16's ‘good cause’ standard is the moving party's diligence in attempting to meet the case

management order's requirements,” though courts may also consider prejudice to the

nonmoving party.” Smith v. Holston Med. Grp., P.C., 595 F. App'x 474, 478 (6th Cir. 2014),

quoting Inge v. Rock Fin. Corp., 281 F.3d 613, 625 (6th Cir. 2002). See also Bradford v. DANA

Corp., 249 F.3d 807, 809 (8th Cir. 2001).

       While Plaintiff may not agree with the relief sought herein, Plaintiff will certainly

agree that the parties have worked diligently and collegially to complete meaningful

discovery during a time of global pandemic. Given the constraints of this far-reaching

pandemic, the parties were unable to complete discovery by the initial deadline, but

cooperatively decided to conduct discovery as best served the case prior to filing this Motion,

outside of the deadlines originally set by this Court. Defendants have had difficulty finding

an appropriate time to depose Plaintiff given the issues within the State’s prisons

surrounding COVID-19, and Plaintiff has had difficulty locating, serving, and deposing non-

party witnesses for similar COVID-19 related issues. Diligence of the parties is something all

attorneys involved in this matter can agree upon.

       In taking these depositions, however, it became clear to Defendant that sufficient

evidence exists showing that Plaintiff’s version of events is not accurate and that he is

entitled to judgment as a matter of law. While Defendant recognizes that this is not the

appropriate motion for an evidentiary discussion of the merits of this case, a brief overview



                                              3
Case 1:18-cv-00538-JTN-SJB ECF No. 70, PageID.547 Filed 10/19/20 Page 4 of 6




relative to the relief sought herein is appropriate. Defendant Plaintiff claims generally that

Defendant was his supervisor in the kitchen at Lakeland Correctional Center and that Torrey

terminated Plaintiff from his kitchen work position after Plaintiff filed a grievance against

Defendant’s assistant food service director. [Doc. #27]. However, the depositions taken by

the parties have shown that: Defendant had no power to hire or fire individuals working

within the kitchen; Plaintiff was not terminated for any conduct relating to his kitchen

employment, but rather was terminated for a totally unrelated ticket for causing a major

disturbance; and that Plaintiff was terminated from his kitchen job by then-Classifications

Director Scott Cline, an employee of the MDOC, who per his own testimony, was the only

individual with the power to hire or fire inmates from their work assignments. This

important evidence was not adduced until after Plaintiff was represented following the

initial denial of summary judgment and claim-specific discovery commenced.

       Given the additional discovery including the several depositions conducted by the

parties relative to Plaintiff’s retaliation claim, Defendant requests that it be allowed to file a

dispositive motion relating to this single claim, and that the current Orders be modified to

allow for same. Defendant submits that the additional depositions, the timing issues relating

to discovery, and the new testimony provided present good cause sufficient to modify the

current Orders to allow for the filing of dispositive motions and to adjourn the settlement

conference. Doing so will not prejudice Plaintiff, and Plaintiff, again who is and was

represented by counsel during this phase of the proceedings, also may submit dispositive

motions as he deems appropriate based upon the new testimony adduced in this action.

Further, the request is not intended to delay the proceedings but rather to allow the Court to




                                                4
Case 1:18-cv-00538-JTN-SJB ECF No. 70, PageID.548 Filed 10/19/20 Page 5 of 6




adjudicate the viability of Plaintiff’s remaining claim going forward based upon the new

testimony and evidence.

       Defendant believes that following the completion of discovery the testimony and

evidence will allow this Court to rule as a matter of law on the pending retaliation claim at

issue and conclusively resolve this action. Defendant respectfully requests that the Court

grant it leave to file a motion for summary judgment on Plaintiff’s claim for retaliation based

upon the significant discovery that has taken place and the involvement of counsel, and

similarly adjust the currently pending Case Management Order and Settlement Conference

Orders to allow for such motions to be filed and ruled upon prior to any settlement

conference. Further, Defendant respectfully requests that this Court adjust the currently

pending Case Management Order and Settlement Conference Orders to allow the motions to

be filed and rued upon prior to any settlement conference, and that the settlement

conference currently scheduled be adjourned. Defendant believes that allowing it to file such

a motion also will promote judicial economy and efficiency by streamlining any issues that

may remain for trial including potentially avoiding an unnecessary trial in this matter.

                                         CONCLUSION

       Defendant has shown good cause to revise the Court’s current orders regarding

scheduling and dispositive motions. The parties have diligently and collegially engaged in

discovery on the merits, and Defendant has determined the additional discovery grants him

a significant chance of receiving summary judgment on the merits of the claims raised

against him.

       WHEREFORE Defendant Torrey respectfully requests that this Court grant him leave to

file a dispositive motion no later than thirty (30) days after Plaintiff’s deposition is



                                              5
Case 1:18-cv-00538-JTN-SJB ECF No. 70, PageID.549 Filed 10/19/20 Page 6 of 6




concluded, currently scheduled for October 21, 2020; that this Court modify its previous

scheduling orders to allow the filing and ruling on dispositive motions prior to any

settlement conference; and for such other and further relief as this Court deems appropriate.

Dated: October 19, 2020                   Respectfully submitted,


                                          By:_/s/ Bradford S. Moyer_________________
                                             Bradford S. Moyer (P51481)
                                             PLUNKETT COONEY
                                             333 Bridge St., NW Suite 530
                                             Grand Rapids, MI 49504
                                             (616) 752-4600


                                          By:_/s/ Alexander Chosid_________________
                                             Alexander Chosid
                                             TKC Holdings, Inc.
                                             1260 Andes Blvd.
                                             St. Louis, MO 63132

                                              Attorneys for Defendant Greg Torrey

Open.27118.03157.25123253-1




                                             6
